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EXHIBIT A
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(REDLINED VERSION)

As an additional condition of supervised release, the defendant shall not:

1.     Act as, be employed by, associate with, provide consulting services to, derive any

compensation from, or act as a principal or agent of any broker, dealer, market-maker,

underwriter, institutional investor, investment advisor, or investment company;

2.     Act in any representative or advisory capacity or as the agent of any other person or

entity, other than for an immediate family member, with respect to the purchases or sales of

securities, whether or not he does so for compensation;



3.     Serve as an agent or fiduciary or in any other capacity, whether or not for compensation,

involving the management of any trust, fund, account, or portfolio containing securities other than

any such trust, fund, account, or portfolio of his own or members of his immediate family;



4.     Promote or facilitate the promotion of any securities either by participating in the founding

and organizing of the business or enterprise of an issuer, recommending or causing others to

recommend securities to potential investors, rendering or causing others to render investment

advice, providing consulting services in connection with the purchase or sale of securities,

publishing information in any quotation medium, disseminating any information about an issuer

or its securities through television, radio, written publications, the Internet, or any other

publicitymedium, engaging in any conduct which is likely to effect the market activity of a

particular issuer's securities, soliciting others to engage in any of the aforementioned conduct, or

soliciting others to act as marketmakers, brokers, dealers, or underwriters. Mr. Velissaris is further
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prohibited from participating in the valuation of securities, other than valuations performed for his

own or his family’s accounts;



5.     Facilitate or attempt to facilitate any transaction involving the purchase or sale of securities,

other than for an immediate family member, whether by participating in negotiations, introducing

parties for the purpose of initiating negotiations, proposing a plan of financing or any other

business arrangement, assisting the parties in obtaining financing, locating potential investors, or

engaging in any other conduct connected with such a transaction.
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(CLEAN VERSION)

As an additional condition of supervised release, the defendant shall not:

1. Act as, be employed by, associate with, provide consulting services to, derive any

compensation from, or act as a principal or agent of any institutional investor, investment

advisor, or investment company;

2.     Act in any representative or advisory capacity or as the agent of any other person or

entity, other than for an immediate family member, with respect to the purchases or sales of

securities, whether or not he does so for compensation;

3.     Serve as an agent or fiduciary or in any other capacity, whether or not for compensation,

involving the management of any trust, fund, account, or portfolio containing securities other than

any such trust, fund, account, or portfolio of his own or members of his immediate family;

4.     Promote or facilitate the promotion of any securities either by recommending or causing

others to recommend securities to potential investors, rendering or causing others to render

investment advice, providing consulting services in connection with the purchase or sale of

securities, soliciting others to engage in any of the aforementioned conduct, or soliciting others to

act as marketmakers, brokers, dealers, or underwriters. Mr. Velissaris is further prohibited from

participating in the valuation of securities, other than valuations performed for his own or his

family’s accounts;

5.     Facilitate or attempt to facilitate any transaction involving the purchase or sale of securities,

other than for an immediate family member, whether by participating in negotiations, introducing

parties for the purpose of initiating negotiations, or locating potential investors.
